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DECLARATION OF SERGEANT STEPHEN T. JAMES

. I, Sergeant Stephen T. James, am a sworm member of the United States Capitol Police
(USCP). I have been employed as a law enforcement officer with this Department since April
27, 1993 (over 28 years). I became a sergeant in February of 2004 (18 years). On March 1,
2020, I was assigned to the Department’s Office of the General Counsel (OGC), where I am
permanently assigned. Prior to being assigned to the OGC, I served as a supervisor on the
Capitol Division from February 2012 to February 2020. Between February 2008 and
February 2012, | served as an investigator with the USCP Office of Professional
Responsibility.

. As part of my duties at the USCP, I view and analyze camera footage from the Department’s
extensive system of closed circuit cameras on U.S. Capitol Grounds. These cameras, part of a
sophisticated closed circuit video (CCV) system, are resident both inside and outside the
buildings including the U.S. Capitol itself and the other Congressional office buildings on the
Grounds. This CCV system provides the backbone of the security for the U.S. Capitol Grounds.
. I have viewed archived USCP closed circuit videos from January 6, 2021, of then Vice
President Michael Pence (VP) as he exited the United States Senate Chamber and arrived at a
secure location within the Capitol Complex. The Capitol Complex is a term that we use to
include the Capitol Building and Capitol Visitor Center.

. My review of the relevant CCV footage confirmed that on January 6, 2021, the VP and his
entourage exited the Senate Chamber at approximately 2:26 pm and arrived at a secure location
within the Capitol Complex at approximately 2:28 pm. The VP left the secure location at
approximately 6:29 pm to return to the Senate Chamber.

. Based on discussions I have had with USCP personnel who were with the VP from the time he
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exited the Senate Chamber until he returned, other than taking a comfort break twice to use the
restroom (also within a secure location in the Capitol Complex), the VP remained in the secure
location from the time he arrived after leaving the Senate Chamber until the time he returned
to the Senate Chamber.

6. The exact location and description of the secure location to which the VP was evacuated is
among the most sensitive information maintained by the USCP. That information is carefully
protected by the USCP and the United States Secret Service.

7. On January 6, 2021, the USCP established a restricted perimeter around the Capitol Building
and Grounds for security purposes. That restricted perimeter is reflected in the attached
image. The Capitol Complex is entirely within the restricted perimeter shown in the image.

] declare under the penalty of perjury under the laws of the United States of America that
the foregoing is true and correct.

Executed on this 3 day of February, 2022.

 

Stephen T. James
Sergeant, United States Capitol Police

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